                       VIRGINIA STATE BAR

                      CERTIFICATE OF GOOD STANDING

      THIS IS TO CERTIFYTHAT ROBERT PELLER FROMMER IS AN ACTIVE MEMBER OF THE VIRGINIA
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STATE BAR IN GOOD STANDING. MR. FR6MMER~WAS
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                                            LICENSED
                                                :
                                                     TO PRACTICE LAW IN VIRGINIA ON
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APRIL 22, 2005, AFTER SUCCESSFULLY PASSINGTlf'E BAR EXAMINATION GIVEN BY THE BOARD OF BAR
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EXAMINERS.

Issued May 19, 2021


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                                                                                           KARENA. GOULD'      ,
                                                                                           EXECUTIVE DIRECTOR AND
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